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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MONTANA
                          BUTTE DIVISION

GiNA JAEGER, individually, AND AS                 CV- I 6-30-BU-SEH
PERSONAL REPRESENTATIVE OF THE
ESTATE OF HER SISTER CHARLENE
HILL,
                                              PLAINTIFF'S MOTION
               Plaintiff,                         TO REMAND
                                              UNDER 28 USC 1447(e)
        VS.

WILLIAM POWELL, DANA WADDELL,
AMBER DAYHUFF, PEAK MEDICAL
MONTANA OPERATIONS, LLC AND
GENESIS HEALTHCARE, INC.,

              Defendants.


      Plaintiff respectfiilly moves this Court for an order remanding this case

back to state court pursuant to 28 USC 1447(e).
                                                           P's Motion to Remand
                                                           Under 28 USC 1447(e)
                                                                 Page 1 of 2
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       Pursuant to LR 7(1), opposing counsel has been contacted and does

 object to this motions.

              DATED this 17 " day of August, 2016.

                                        Is! Torger Oaas
                                      TORGER OAAS
                                      Co-counsel for Plaintiff

                                        Is! William E. Berger
                                      WILLIAM E. BERGER
                                      Co-counsel for Plaintiff




                        CERTIFICATE OF SERVICE
      I hereby certify that on the 17' day of August, 2016, a true copy of the
foregoing was served on the following person(s) via Electronic Filing:

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                                      By:      Is! Torger Oaas
                                              TORGER OAAS
                                              Co-counsel for Plaintiff



                                                            P's Motion to Remand
                                                            Under 28 USC 1447(e)
                                                                   Page 2 of 2
